                       UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF NORTH CAROLINA

 HEATHER ADAMS and DENISE                  )
 COOK, individually and on behalf of       )
 others similarly situated,                )     Civil Action No. 1:16-cv-01051
                                           )
      Plaintiffs,                          )
                                           )
 v.                                        )
                                           )
 SITEL OPERATING                           )
 CORPORATION, a Delaware                   )
 corporation,                              )
                                           )
      Defendant.                           )


                    AMENDED NOTICE OF SPECIAL APPEARANCE

      NOW COMES Katherine Paulus, a member in good standing of the State Bars of

Missouri and Kansas and the United States District Courts of the Western District of

Missouri, Kansas, and Western District of Arkansas and files this Amended Notice of

Special Appearance as counsel on behalf of Defendant Sitel Corporation.

      Katherine Paulus represents to the Court that she is familiar with and accepts the

terms of Local Rule 83.1 of this Court regarding the conditions for special appearance.

Katherine Paulus also represents that Kevin S. Joyner and Kimberly J. Lehman, are

members in good standing of the bar of this Court and the bar of the State of North

Carolina, will work in association with Katherine Paulus in the above-captioned matter;

and that Mr. Joyner or Ms. Lehman, also undersigned, acknowledges their obligation to

sign all pleadings and papers, other than Certificates of Service, and to appear at all




      Case 1:16-cv-01051-LCB-JLW Document 44 Filed 05/22/19 Page 1 of 5
pretrial conferences, potentially dispositive pleadings, and trial; and that Ms. Lehman will

appear at the hearing currently scheduled for May 28, 2019.

Respectfully submitted this 22nd day of May, 2019.



                                                 Respectfully submitted:


                                                 /s/ Katherine K. Paulus
                                                 Katherine K. Paulus
                                                 MO State Bar No.: 60217
                                                 OGLETREE,         DEAKINS,     NASH,
                                                 SMOAK & STEWART, P.C.
                                                 4520 Main Street, Ste. 400
                                                 Kansas City, MO 64111
                                                 816.410.2247
                                                 816-471-1303 facsimile
                                                 Katherine.paulus@ogletreedeakins.com

                                                 and




                                             2


      Case 1:16-cv-01051-LCB-JLW Document 44 Filed 05/22/19 Page 2 of 5
                                   /s/ Kevin S. Joyner
                                   Kevin S. Joyner (N.C. Bar No. 25605)
                                   OGLETREE, DEAKINS, NASH,
                                   SMOAK & STEWART, P.C.
                                   Attorneys for Defendant
                                   4208 Six Forks Road, Suite 1100
                                   Raleigh, NC 27609
                                   919.787.9700
                                   919.783.9412 facsimile
                                   kevin.joyner@ogletreedeakins.com

                                   and

                                   /s/ Kimberly J. Lehman
                                   Kimberly J. Lehman (N.C. Bar No.
                                   43001)
                                   OGLETREE, DEAKINS, NASH,
                                   SMOAK & STEWART, P.C.
                                   Attorneys for Defendant
                                   4208 Six Forks Road, Suite 1100
                                   Raleigh, NC 27609
                                   919.787.9700
                                   919.783.9412 facsimile

                                   kim.lehman@ogletreedeakins.com




                               3


Case 1:16-cv-01051-LCB-JLW Document 44 Filed 05/22/19 Page 3 of 5
                              CERTIFICATE OF SERVICE

       I hereby certify that on this the 22nd day of May, 2019 the foregoing Notice of Special
Appearance was filed electronically with the Clerk of the Court to be served by operation of the
Court’s electronic filing system upon the following:

       Edward B. Davis (Bar No.:27546)
       BELL DAVIS PITT
       227 West Trade Street, Suite 2160
       Charlotte, NC 28202-1697
       T: 704-227-0400
       F: 704-227-0178
       E: ward.davis@belldavispitt.com

       Kevin J. Stoops (MI Bar No. P64371)
       Jesse L. Young (MI Bar No. P72614)
       Neil B. Pioch (MI Bar No. P67677)
       SOMMERS SCHWARTZ,
       P.C. One Towne Square, Suite 1700
       Southfield, Michigan 48076
       T: 248-355-0300
       E: kstoops@sommerspc.com
       E: jyoung@sommerspc.com
       E: npioch@sommerspc.com

                                            OGLETREE, DEAKINS, NASH
                                            SMOAK & STEWART, P.C.


                                            /s/ Katherine K. Paulus
                                            Katherine K. Paulus
                                            MO State Bar No.: 60217
                                            4520 Main Street, Ste. 400
                                            Kansas City, MO 64111
                                            816.410.2247
                                            816-471-1303 facsimile
                                            Katherine.paulus@ogletreedeakins.com

                                            and




                                               4


      Case 1:16-cv-01051-LCB-JLW Document 44 Filed 05/22/19 Page 4 of 5
                             /s/ Kevin S. Joyner
                             Kevin S. Joyner (N.C. Bar No.: 25605)
                             4208 Six Forks Road, Suite 1100
                             Raleigh, NC 27609
                             Telephone: 919.787.9700
                             Facsimile: 919.783.9412
                             kevin.joyner@odnss.com

                             s/ Kimberly J. Lehman
                             Kimberly J. Lehman (N.C. Bar No. 43001)
                             OGLETREE, DEAKINS, NASH, SMOAK &
                             STEWART, P.C.
                             Attorneys for Defendant
                             4208 Six Forks Road, Suite 1100
                             Raleigh, NC 27609
                             919.787.9700
                             919.783.9412 facsimile
                             kim.lehman@ogletreedeakins.com

                             Attorneys for Defendant




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                               5


Case 1:16-cv-01051-LCB-JLW Document 44 Filed 05/22/19 Page 5 of 5
